                                                                                        y~ °'--~     Hv,
                                             Da vid L. W agner
                                           282 North 1120 East                           3 :z-imJ zoo?-
                                             Oren-1, UT 84097


 June 8, 2022
 Federal Magistrate Judge McCook
 22 W Depot Street Suite 200
 Greeneville, TN 37742
 RE Case No 3 :22MT02002


 Dear Judge McCook,

         My name is David L. Wagner and I am the father of julianne Wagner Gerritsen. Juli was
 killed in an aircraft accident in Tennessee on December 29, 2021. The pilot survived the crash
 and is the defendant, Matthew Jones, in the above case.

 Matt Jones is facing charges in Utah Case: US vs Matthew Jones, Case No. 2:21-cr-00436-DS in
 Utah Federal Court. Matt violated his pretrial conditions for release, that he not pilot any
 aircraft and that-~ he not travel outside. the state of Utah .

 As a direct result of Jones' vioiaticn of his we-tr ial re lease conditions, my daughter was killed . I
 am seeking some measure of justice for,my daughter and rny young grandson, Spencer. To ou ti
 knowledge no onf:' i:hat we knew had heard of the capti oned case re gc1rdlng Jones. Jones
 intentionally mislead a!i of us w hich led to t his tragi c crash . !f Jones had not been released, this
terrible accident would not have happened , my daughter would be alive and my grandson
 would still have a loving mother.

 I am writing to you regarding the aforemention ed case and ask that you expedite the transfer of
Jones from the VA Hospital in Virginia, where l1e currently is and have him brought back to Utah
to face the charges here.

 I would be glad to visit with you regarding this matter and can be reached at the above address
 or via telephone at 801-310-9507.




 Cc:                                                          _   1 ./ ;   -   f   ~I




 AUSAc;arlos A. Esqueda , U.S.: Attorn~y'.s Ofi'ice,111°South ·i}.Q-ain,Str.eet,-Suite 1800 Salt Lake City,
 UJ-84111 _                         ,._.                   .-• - ..c ·;:. •r.•
         Re: US vs fv1atthe1N jones, Case No. 2:21-r:r-00Li-36-DS
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Case 3:22-mj-02002-JEM Document 29 Filed 06/17/22 Page 1 of 2 PageID #: 59
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Case 3:22-mj-02002-JEM Document 29 Filed 06/17/22 Page 2 of 2 PageID #: 60
